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                             UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF TEXAS
                                  SHERMAN DIVISION


  STATE OF TEXAS,

                     Plaintiff,

           v.                                          Case No. 4:24-cv-499

  U.S. DEPARTMENT OF LABOR et al.,

                     Defendants.



                         NOTICE OF WITHDRAWAL OF ATTORNEY

        Please take notice that Christine L. Coogle, trial attorney at the U.S. Department of Justice,

 Civil Division, Federal Programs Branch, hereby withdraws her appearance on behalf of Defendants

 in this matter. The undersigned is departing the U.S. Department of Justice on March 14, 2025, and

 therefore will no longer be participating in this case. Defendants remain represented by other counsel

 from the U.S. Department of Justice, as reflected on the Court’s docket.

 Dated: March 14, 2025                          Respectfully submitted,

                                                YAAKOV M. ROTH
                                                Acting Assistant Attorney General

                                                JULIE STRAUS HARRIS
                                                Assistant Branch Director

                                                /s/ Christine L. Coogle
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